Case 13-53085-grs           Doc 30       Filed 04/04/14 Entered 04/04/14 09:08:34 Desc Main
                                         Document      Page 1 of 7
                                                                         Local Form 3015-1
                                                                                               Effective 01/01/2013

                                UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF KENTUCKY
                                       LEXINGTON DIVISION

   IN RE: David and Kim Lowery

                                                                                                CASE NO. 13-53085
   DEBTOR(S)
                                              CHAPTER 13 PLAN


                                  Original          X Amended           Date: April 3, 2014

   NOTICE TO CREDITORS: This Plan may modify your rights. If you oppose any provision of the
   plan you must file an objection with the Bankruptcy Court by the deadline fixed by the Court. If you
   do not file a timely objection, you will have accepted the terms of the Plan, and the plan can be
   confirmed and the motions granted without further notice or hearing.

   Reference to “Debtor” herein shall include both Debtors in a joint case.

   I. PLAN PAYMENTS. The Debtor shall pay to the Trustee (check one):

       $        each month.       OR                X the payments per the attached schedule.

   X (If checked) Plan payments shall be made to the Trustee by Payroll Deduction: (specify X H or          W in
   joint case)
                             Employer Name:             Automotive Finishes Corp.
                             Address:                   P. O. Box 6639
                             and                        Cleveland, OH 44101-1639
                             Phone Number:              (216) 566-2000

   II. SECURED CLAIMS.

   A. Secured Claims To Be Paid Through the Plan and Motion to Value Collateral.

             1. Pre-Confirmation Adequate Protection Payments; Post-Confirmation Adequate
   Protection Payments to be Paid Concurrently with Debtor’s Attorney’s Fee. Pre-confirmation
   adequate protection payments to the following Creditors holding allowed secured claims shall be paid by
   the Trustee through the plan as provided below. Adequate protection payments shall not accrue or be paid
   until the Creditor files a proof of claim. The principal amount of the Creditor’s claim shall be reduced by
   the amount of the pre-confirmation adequate protection payments remitted. Payments will continue as
   provided below after confirmation until the attorney’s fee for debtor’s counsel is paid in full.

   Secured Creditor               Collateral Description                               Adequate Protection Monthly
                                                                                       Payment


            2. Secured Claims Valued Under § 506. The Debtor moves the Court to value collateral as
   follows according to 11 U.S.C. § 506(a). Each of the following secured claims, if allowed, shall be paid
   through the plan until the secured value or the amount of the claim, whichever is less, has been paid in full.
   Any remaining portion of the allowed claim shall be treated as a general unsecured claim. Any claim with
   a secured value of $0 shall be treated as a general unsecured claim.




                                                         1
Case 13-53085-grs                 Doc 30           Filed 04/04/14 Entered 04/04/14 09:08:34 Desc Main
                                                   Document      Page 2 of 7
                                                                                   Local Form 3015-1
                                                                                                                       Effective 01/01/2013


                                                                                Estimated                    Secured          Interest        Monthly
   Secured Creditor                       Collateral Description                Amount of Claim              Value             Rate*          Payment
   Value City                             Misc. furniture                       $2410                        $500                             Pro rata
   * If blank, the interest rate shall be the WSJ Prime Rate on the date of confirmation plus 2 percentage points. An allowed secured tax
   claim shall be paid with interest at the applicable statutory rate in effect on the date on which the plan is confirmed, notwithstanding
   any contrary provision in the plan.

            3. Secured Claims Not Subject to Valuation Under § 506. Each of the following claims, if
   allowed, shall be paid through the plan until the amount of the claim as set forth in the Creditor’s proof of
   claim has been paid in full.

                                                                                      Estimated                               Interest        Monthly
   Secured Creditor                   Collateral Description                          Amount of Claim                          Rate*          Payment
   First South Credit                 2003 Pontiac                                    $2000.00                                                Pro rata
   *If blank, the interest rate shall be the WSJ Prime Rate on the date of confirmation plus 2 percentage points. An allowed secured tax
   claim shall be paid with interest at the applicable statutory rate in effect on the date on which the plan is confirmed,
   notwithstanding any contrary provision in the plan.

             4. Lien Retention. The holder of any allowed secured claim provided for by the plan shall retain
   a lien until a condition specified in 11 U.S.C. § 1325(a)(5)(B)(i)(I) occurs, at which time the lien shall be
   released.

   B. Curing Defaults and Maintaining Payments on Mortgages and Other Secured Debts.

             1. Payments by Debtor. The Debtor shall pay each claim listed below, except any prepetition
   arrearage, by making payments directly to the Creditor according to the underlying contract. Except as
   otherwise provided in the plan, any allowed claim for prepetition arrearages shall be paid through the plan
   until the amount of the arrearage as set forth in the Creditor’s proof of claim has been paid in full.

    Secured                        Collateral                               Estimated                        Monthly Payment on
   Creditor                        Description                              Amount of Arrearage              Arrearage
   Ocwen                           Real estate located at 209                                                Pro rata
                                   Wildcat Dr., Richmond, KY
   GreenTree                       Real estate located at 209                                                Pro rata
                                   Wildcat Dr., Richmond, KY
   If the arrearage claim is to cure a default in an agreement that was entered into after October 22, 1994, no interest shall accrue or be
   paid on the claim. With respect to all other agreements, the interest rate shall be the contract rate.

            2. Payments by Third Party. The following claims, including any amount for prepetition
   arrearages, shall be paid by a non-filing third party making payments directly to the Creditor according to
   the underlying contracts.

     Secured Creditor                  Collateral Description                         Name of Party Making        Relationship to Debtor
                                                                                      Payments
                                                                                      To be provided on request of Trustee or a Creditor.

   C. Surrender of Property. The Debtor surrenders the following property. Upon confirmation the
   automatic stay and co-debtor stay are terminated as to the collateral being surrendered, and the provisions
   in Section II.D. of the plan (“Orders Granting Relief From Stay”) apply.

           Secured Creditor                                                 Collateral Description


   D. Orders Granting Relief From Stay. If at any time during the life of the plan an order terminating the
   automatic stay is entered, no further distributions shall be made to the Creditor until such time as an
   amended claim for the remaining unpaid balance is filed and allowed. Pursuant to Local Rule 4001-1, a



                                                                       2
Case 13-53085-grs           Doc 30        Filed 04/04/14 Entered 04/04/14 09:08:34 Desc Main
                                          Document      Page 3 of 7
                                                                          Local Form 3015-1
                                                                                                 Effective 01/01/2013

   creditor whose claim is secured by personal property shall have 90 days from termination of the stay in
   which to file an amended claim for the remaining unpaid balance. A creditor whose claim is secured by
   real property shall have 180 days from termination of the stay in which to file an amended claim for the
   remaining unpaid balance. If an amended claim is not timely filed, the claim will be treated as satisfied in
   full.

   E. Avoidance of Liens under 11 U.S.C. § 522(f). The Debtor will file a separate motion pursuant to
   Local Rule 4003-2 to avoid the liens of the following creditors under 11 U.S.C. § 522(f). Except to the
   extent the plan provides otherwise, the allowed claims of such creditors shall be treated as general
   unsecured claims.

          Secured Creditor                                              Collateral Description


   F. All Other Secured Claims. An allowed secured claim not provided for in the plan shall be classified in
   a junior class of secured claims that will be paid through the plan on a pro rata basis with all other allowed
   secured claims in the class. Each allowed claim in the class will be paid to the extent of the value of the
   collateral set forth in the Creditor’s proof of claim or the amount of the allowed claim, whichever is less,
   with interest at the WSJ Prime Rate on the date of confirmation or the date on which the proof of claim is
   filed, whichever is later, plus 2 percentage points, or if a secured tax claim, with interest at the applicable
   statutory rate in effect on the date on which the plan is confirmed. Allowed administrative expenses shall
   be paid in full prior to distribution to this class of secured claims.

   III. PRIORITY CLAIMS.

   A. All claims entitled to priority under section 507 (including administrative expenses) shall be paid in
   full. Except to the extent the plan provides otherwise, all expenses entitled to administrative priority under
   section 507(a)(2) shall be paid in full prior to distribution to any other class of claims entitled to priority.
   All other classes of claims entitled to priority shall be paid concurrently on a pro rata basis.

   B. Trustee’s Fee. The percentage fee payable to the Trustee shall be paid before or at the time of each
   payment to creditors and other claimants. The Trustee is authorized to collect the statutory percentage fee
   at the time of distribution of pre-confirmation adequate protection payments. The percentage fee is fixed
   by the United States Trustee and cannot be modified by the plan.

   C. Attorney’s Fee.

            1. Counsel for the debtor requests compensation as follows:

            a. X Pursuant to Local Rule 2016-2(a), an attorney’s fee for Debtor’s counsel shall be allowed in
            the amount of $3500.00 (not to exceed $3,500). Of this amount, the debtor paid $300.00 prior to
            the filing of the petition, leaving a balance of $3200.00 to be paid through the plan. (The
            Debtor/Attorney for Debtor have complied with Local Rule 2016-2(a) and this must match the
            Rule 2016(b) Disclosure of Compensation of Attorney For Debtor(s)). Any additional requests for
            fees or expenses will be requested by separate application.
            OR
            b.    An attorney’s fee for Debtor’s counsel will be requested by separate application and shall
            be paid as allowed by the Court.

            2. Until the allowed attorney’s fee is paid in full, creditors holding secured claims (including
   arrearage claims) shall be paid only adequate protection payments set forth in Section II.A. of the plan.

   D. Domestic Support Obligations (“DSO”). Unless otherwise provided in the plan, any allowed
   unsecured claim for a pre-petition domestic support obligation shall be paid through the plan until the
   amount of the claim as set forth in the Creditor’s proof of claim has been paid in full.


                                                          3
Case 13-53085-grs           Doc 30       Filed 04/04/14 Entered 04/04/14 09:08:34 Desc Main
                                         Document      Page 4 of 7
                                                                         Local Form 3015-1
                                                                                               Effective 01/01/2013



   E. Tax Claims. The allowed claim of any entity for taxes shall be paid according to the proof of claim
   unless otherwise ordered by the Court.

   IV. UNSECURED CLAIMS.

   A. Minimum Amount Required for Distribution to Priority and Non-priority Unsecured Claims.
   The minimum amount required for distribution to priority and non-priority unsecured claims shall be the
   greater of: (1) the projected disposable income for the applicable commitment period; (2) the amount
   required to satisfy the liquidation test; or (3) the amount required to pay priority claims in full.


   B. General Unsecured Claims.

            1. The trustee shall calculate the “pool” amount available for distribution to unsecured creditors.
   Creditors holding general unsecured claims shall be paid on a pro rata basis to the greatest extent possible.
   No interest accruing after the date of the filing of the petition shall be paid on the claims of creditors
   holding unsecured claims.

            2. Co-Signed Debts To Be Paid in Full. The following creditors holding unsecured claims for
   which a non-filing debtor is also liable shall be paid in full, without interest, concurrently with other
   general unsecured claims.

   Creditor                     Description of Claim          Co-Signer            Relationship to Debtor
                                                              To be provided on request of Trustee or a
                                                              Creditor.


   V. LEASES AND EXECUTORY CONTRACTS.

   A. Rejection of Leases and Surrender of Property. The Debtor hereby rejects the following leases and
   executory contracts and will surrender the leased property. In addition, any lease or executory contract not
   specifically assumed below is deemed rejected. Upon confirmation the automatic stay and co-debtor stay
   are terminated as to the leased property. No distributions shall be made to the creditor until an amended
   claim for any deficiency is filed and allowed. Any allowed claim for a deficiency shall be treated as a
   general unsecured claim.

        Creditor                                      Description of Leased Property or Nature of Contract


   B. Curing Defaults and Retaining Leased Property. The Debtor shall pay the following unexpired
   leases or executory contracts, except any prepetition arrearage, by making payments directly to the
   Creditors according to the underlying contracts. Unless otherwise provided in the plan or Court order, any
   allowed claim for prepetition arrearages relating to the lease or contract shall be paid through the plan
   concurrently with secured claims.

                              Description of Leased              Estimated                  Monthly Payment
   Creditor                   Property or Nature of              Amount of                 on Arrearage
                              Contract                           Arrearages


   VI. GENERAL PROVISIONS.

   A. An order of the Bankruptcy Court supersedes any provision of the plan which is in conflict with the
   order.



                                                         4
Case 13-53085-grs           Doc 30       Filed 04/04/14 Entered 04/04/14 09:08:34 Desc Main
                                         Document      Page 5 of 7
                                                                         Local Form 3015-1
                                                                                                 Effective 01/01/2013



   B. Claims will be paid in accordance with the plan only to the extent funds are available.

   C. Claims of different classes may be paid concurrently if sufficient funds are available.


   D. The trustee is authorized to extend the duration of the plan as necessary to pay allowed expenses and
   claims as provided in the plan; however, the plan may not provide for payments over a period that is longer
   than 5 years. The trustee is authorized to adjust the amount of the monthly payment disbursed to each
   secured creditor as may be necessary in the administration of the plan.

   E. As soon as practicable after the claims bar date, the trustee will file and serve on all creditors a Notice
   of Allowance of Claims, which will set forth the treatment of all claims and project the anticipated
   distribution to unsecured creditors. To the extent there is a conflict between the Notice of Allowance of
   Claims and the confirmed plan, the provisions of the Notice of Allowance of Claims will control.


   VII. SPECIAL PROVISIONS.

   A. The Debtor attaches hereto and incorporates herein the following amendments (check all that apply):

                Plan Payment Schedule

                Add Proceeds from Personal Injury or Other Cause of Action

                Add Proceeds from Sale of Property

                Add Proceeds from Inheritance or Other Right to Receive Income or Property

                Other


   B. The Debtor proposes the following special provisions.

   In addition to the Chapter 13 payments set forth below, Mr. Lowery will pay 1/3 of his net annual bonus to
   the trustee during the life of the plan.




   DATED: April 3, 2014

   /s/ David Lowery____________________
   DEBTOR
   /s/ Kim Lowery____________________
   DEBTOR
   /s/ J. D. Kermode___________________
   ATTORNEY FOR DEBTOR


                                           CERTIFICATE OF SERVICE

            I certify that on the date shown below I mailed a copy of the Chapter 13 Plan, for the Debtor to the
   creditors listed on the matrix and to the Chapter 13 Trustee.



                                                          5
Case 13-53085-grs        Doc 30   Filed 04/04/14 Entered 04/04/14 09:08:34 Desc Main
                                  Document      Page 6 of 7
                                                                  Local Form 3015-1
                                                                          Effective 01/01/2013

                                                   ATKINSON, SIMMS
                                                   & KERMODE PLLC



                                                By:/s/ J. D. Kermode_____________
                                                   1608 Harrodsburg Rd.
                                                   Lexington, KY 40504
                                                   (859) 225 – 1745

   Date Mailed: April 4, 2014




                                            6
Case 13-53085-grs     Doc 30     Filed 04/04/14 Entered 04/04/14 09:08:34 Desc Main
                                 Document      Page 7 of 7
                                                                 Local Form 3015-1
                                                                    Effective 01/01/2013


   $330 through April 2015

   $449 from May 2015 through August 2016

   $476 from September 2016 through June 2017

   $772 from July 2017 through the end of the plan




                                             7
